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                                                                 Junc 27,2019
           Via ECF
           Hon..loan M. Azrack
           LJnited States District Judge
           [astern District of Ncw York
           100 F'cderal Plaza
           Ccntral Islip, New York 1 1722

                                  Re: United States v. Mahmoud Barakat
                                      Dkt.l8 Cr.292
           Dcar Judgc Azrack:

                    As the Court is aware, along with co-counsel Robert Feitel, I represent Mr. Barakat. I
           write in response to thc Government's lettcr of Junc 20,2019, whcrein the Governmcnt requests
           that a Clurcio hcaring be conducted on .luly 16. 2019, to determine whether Mr. Feitel has a
           corrllict ol'interest, and whether such a conl'lict can be waived by Barakat. For the reasons set
           fbrth herein. and those advanced to the Courl during our status confcrcncc of .lune 6, 2019. it is
           rcspcctfllly submittcd that a Curcio hcaring is unncccssary. as the Government has lbiled to
           cstablish the existencc ol'a potential conllict ol'interest warranting such a hearing.

                   As the Court is aware, on March 27,2019, Barakat was charged in a supcrseding
           indictrnent which addcd chargcs of conspiracy to obstruct justicc, and obstruction ofjustice. to
           thc undcrlying indictment ( I tl tJSC l5l2 (k) and l5l2 (cX l)). In these counts. the Govemment
           alleges that Barakat sent, or caused another to send, an altered exculpatory account statement to
           Mr. Feitel to use in the delbndant's bail proceeding.

                   With this, the Governmcnt argucs that a potcntial conflict cxists as "the Government
           intends to call Feitel as a witness". thus implicating the witness-advocate rule. (Gov't. ltr. p.6)
           Moreover. the Government argues that any communication Feitel may have had with Barakat
           involving Feitel's rcccipt of thc purportedly altercd account statement is not privileged by virtue
           of the crimc I'raud exccption (Gov't. ltr. p.5). ln this regard, while conceding that Mr. Feitel did
           not act with bad nrotive or intent in submitting the account statement to the Court, the
           Governnrent nonetheless argues that the crime fraud exception applies to lieitcl's
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comrnunications with llarakat on this subjcct. as any such convcrsation was in furthcrance of
Rnruknt's objective in pcrpetrating the traud. thus triggcring thc crime l'raud cxccption. (Cov't.
Itr.. p.2.61 citing tjnitccl States v, Mcl)onald. W|.31956106, at 4 (EDNY 2002). Thc
(iovsrnnrcnt's lpplicution. uttcrly bcrell ol'supportivc l'acts. should be rcjccted as it l'alls
woclirlly short of mecting their required burden in establishing that any such attorney client
convcrsation is non-privilcgcd.

          'l'o bcgin. it is wcll scttlcd that thc standard for disqualilication ol'counsel begins with n
"prcsunrption in lhvor ol'thc accuscd's choscn counscl" which can only bc overcome. "by B
showing ol'un actual conllict or potentially scrious conllict". United states v. Locasio,6 l"'.3d
924. 93 I l2d Cir. I 993 ): Whcat v, tjnitcd Statc.s. 486 tJS I 53. 160. 164 ( 1988). ln this Circuir,
disclualilicntion is vicwcd with dislirvor u.s il inrpingcs on a clicnt's right to lreely choose his
counscl l;inkcl y. l;rnttuclli Bros. Inc.,740 F. Supp 2d 368, 372 (Bianco, EDNY 2010). citing
llcrrnctt Silvcrshcin Assoc. v. F'urman ,776 l; . supp. 800. tt02 ( SDNY I 99 I ). And, this Circuit
hus notcd "thc high standurd of prool" rcquircd ol'lhosc moving for disqualification. l.'inkel, id..
citirrg livlns v. Artck Sys, eorp.,715l;2d 788.791 (2d Cir. 1983).

           'l'hc Covernnlenl's stated intention to cull Feitel us a trial witness in their ellbrt to provc
tltc obstruction counts against llarakat nppc{us to bc aimcd at cstablishing thc lbllowing l'acts.
 l"irst. thut thc ullegcdly altcrcd document was lilcd by l;eitcl on behalf of his client in an ollicial
.iudiciul procceding. But. as addressed in the slntus conlbrence of Junc 6.2019. this is a sclf-
cvidcnt l'act. lt is undisputcd that Mr. l.citcl lilcd a bail application on behall'ol'Barakat on the
('ourt's I'ilcctronic Case Filing Systcnr. and altachcd thc allcgedly altcrcd documcnt as an cxhibit
to his writtcn opplication. As such, it is not a contcstcd lbct. thus l;citel's removal on this busis
 undcr thc witncss - udvoculc rule is not worrantcd (scc NY llulcs ol'Prolbssional Conduct, Rule
3.7 (u)). Morcovcr. us prcviously argucd. uny prc.judicc stenrming l'rom Feitel being Bn unsworn
witncss ul trial on this issue can be reodily cured by thc (lourt's dircctive that the Government
 utiliz.c thc tcnn "cnunscl" in placc ol'Mr. l;citcl's namc when introducing cvidcnce of the liling
ol' thc allcgcdly altcrcd documcnt.

         Next. us argucd in their instant upplicution, the Governnlcnt at triul will scek to cstablish
through licitcl's tcstimony concerning his convcrsations with his clicnt Borakat, that l.'eitcl
rcccivcd thc altcrcd documcnt liom Rarakul and lilcd it ut his direction - conversations rcndcrcd
non-privilcgcd by thc crimc liaud cxccption, On this. thc (iovcrnmcnt's application lblls short us
tlrc govcrnrncnt hus prolbrred no.fitct:s or cviclcncc supportivc of their cntirely spcculativc clairn
thut lrcitcl indccd hud convcrsntions with his clicnt conccrning thc rcccipt and filing ol'the
allcgcdly ultcred docunrcnt. Instead. the (iovernment secks thc disqualilication ol'Feitel bosed
cntircly on thc buld ussertion that they will call Fsitel as a witncss and compel his tcstimony
conccrning his non-privilcgcd convcrsations with his clicnt on this issuc. llowever, in sccking
lrcitcl's disqualilication on this basis. thc Govcrnmcnt ignorcs thc two purl showing rcquircd to
conrpel counscl's tcstimony bascd upon thc crimc lruud cxccption,

        ln ordcr to contpcl otherwisc privilcged tcstimony undcr thc crime tiaud exception, the
(iovcrnmcnl must cornc l'orward with cyl'ft,flcc to show that conlidentiul communications were
rnadc in l'urtlrcroncc ol'u l'ruud. ljnitsd Stotes v Zolin. 491 Lf S 554.573 ( 19891. ln short, thc




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(iovcrnnrent must identily a lhctual basis lbr the exccption. Scc United Stntcs v. Jacobs, I l7 t'3d
82. 87-88( 1997),

         'l'his issuc was squarely addressed in Unitcd Statcs v. McDonald,2002 WL31056622
(lil)NY. Judgc Scybcfl). 'l'hcrc. thc Covcrnment sought renroval ol'counsel arguing thcir
intention to conrpel his tcstirnony al triol conccrning convcrsations with his client, while
claiming thcir non-privilcgcd status under the crime l'raud exception, F'inding the Governmcnt's
upplication "llawcd". thc (lourt citcd thc Govcrnmcnt's "Bpparent disregord ltrr its burden to
conrc lbrward with cyir/cnc( lo show that conlidenlial communications wcre made in f'urtherancc
ol'u l'raud". (ld ut 12; citing Z,olin, supra. emphasis in original).'l'he Court l'urther noted the
(iovcrnmctrt's l'ailurc to rccognize " the tenrporal naturc ol'the exception and the narrow
circumstunccs to which it applies" (McDonald at r2; citing Jacobs. supru. at 88-89).

         llcrc. thc (iovcrnmcnt's l'ailure to support thcir ussertion that lteitcl's testimony can bc
clicited conccrning convcrsations with his client due lo the crime liaud exception, is particularly
stark.'l'hc (iovcrnnrcnt cites to no evidence conccrning thc content ol'any convcrsations bctwccn
llarukut and his ottorncy conccrning the liling of the document which would render thcm non-
privilcgcd urrdcr thc crimc fraud cxception. ln fact. lhc Govcrnmcnt is unablc to supply any
cvidcnce thul conversulions even occurred betwccn Barakat and his counsel conccrning the issue,
As such. undcr controlling law, the Govcrnmcnl's assertion that it intends to compel testimony
liorn Mr. licitcl at trial conccrning his convcrsalions with his client is baseless. Ol'coursc,
without the crime liaucl exception, Mr. Feitel i.s not a govcrnmcnt witness.

        liinally. two othcr points are woflh noting. First. the Covcnrment was able to obtain
Barakat's indictrncnt on thc obstruclion counts without thc tcstimony ol'Mr. Feitcl concerning
his convcrsotions with his clicnt, thus it would oppeor the Govemment olreody has evidencc
linking llurakut to the lilcd documcnl. thus obviating the need to impose the drastic measure ol'
disquulilying counscl. And. the Covernment's application lbr disqualilication. in Bny cvenl.
Bppcors prcmaturc. As has bccn well chroniclcd, the (iovcrnmcnt is still in the proccss of
providing (in a pieccmcal and rather unevcn fashion) discovery in this malter, und neither a
nroliun schcdulc or u trinl datc hus becn scl hy this Court.

        Accordirrgly, as thc Govcmnrenl has lailed to set forth l'acts sullicient to show that Mr.
Fcitcl will hc u (iovernmcnt wilncss at trial, thcrc is no basis to disqualily him undcr thc witness
ndvocatc rulc.




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          'l'hunk you lfrr your considcrnlion.



                                                     Very truly youn




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 KJK/cj

 cc: Rohcrt |citcl. Fisq.
    At f SA ('lrlrlcs Kclly
    n tlSA llurton Rynrr




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